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                IN THE UNITED STATES DISTRICT COURT
       FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

JANET GODINEZ, on behalf of herself and          )
as administrator of the estate of her brother,   )
HERIBERTO GODINEZ, Deceased,                     )
                                                 )
                       Plaintiff,                )
                                                 )   16 CV 7344
       vs.                                       )
                                                 )   Judge PALLMEYER
The CITY OF CHICAGO, et al.,                     )
                                                 )   Magistrate Judge CUMMINGS
                       Defendants.               )

           EXHIBIT LIST TO PLAINTIFF’S RESPONSE TO DEFENDANT
          OFFICERS’ LOCAL RULE 56.1 STATEMENT OF MATERIAL FACTS

Exhibit A                 Jerome Deposition Transcript
Exhibit B                 911 Call Audio
Exhibit C                 Garcia IPRA Statement
Exhibit D                 Garcia Deposition Video
Exhibit E                 Evidence Technician Photographs
Exhibit F                 Cruz Deposition Transcript
Exhibit G                 Lindskog Deposition Transcript
Exhibit H                 Lightened In Car Camera Video
Exhibit I                 Screenshot from ICC Video
Exhibit J                 Corona Deposition Transcript
Exhibit K                 McAndrew Deposition Transcript
Exhibit L                 Calderon Deposition Transcript
Exhibit M                 OEMC Event Query No. 1520100718
Exhibit N                 Arroyo Deposition Transcript
Exhibit O                 Johnson Deposition Transcript
Exhibit P                 Zone 13 Radio Audio
Exhibit Q                 Nowakowski Deposition Transcript
Exhibit R                 Calderon IPRA Statement
Exhibit S                 Brown IPRA Statement
Exhibit T                 Leestma Expert Report
Exhibit U                 Jerome IPRA Statement
Exhibit V                 Brown Deposition Transcript
Exhibit W                 Powell Deposition Transcript
Exhibit X                 Leestma Deposition Transcript
Exhibit Y                 Prisoner Van Photographs
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Exhibit Z                Baden Expert Report
Exhibit AA               Baden Deposition Transcript
Exhibit BB               Watkins Deposition Transcript
Exhibit CC               Medical Examiner’s Report


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